
Reese J.
delivered the opinion of the court.
All the horses of George had the fatal and malignant disease called the glanders and one of them had died. The proof in the record induces the belief that George well knew the nature and character of the disease; in this state of things he sold one of his horses to Johnson, telling him at the time thatth.e horse had the distemper, that all his horses had the distemper, and that one of them had died of it. Johnson said he did not mind the distemper but a glandered horse he would not have at all. A yoke of oxen were to be given for the horse and a due-bill or note for seven dollars. The contract was completed, the note given, and Johnson about to take away the horse, when George said he must take the horse at his own risk. The court charged that to represent untruly that *37a glandered horse had the distemper only, or to conceal the fact that he had glanders, would be as much a suggestio falsi and suppressio veri, as to represent an unsound horse as sound or as to conceal the unsoundness; and that the remark made at the time it was, that Johnson must take the horse at his own risk, came too late. In all this the court was correct: and as to the last point, he might have added, that when in such a negotiation a fraudulent concealment or false suggestion takes place, such a remark at any stage or the contract, although it might negative'the allegation of warranty, would not exonerate the party from the consequences of the fraud produced by. the suppression of truth and the suggestion of falsehood.
Let the judgment be affirmed.
